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 1                                                         The Honorable Judge Robert J. Bryan
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT TACOMA
 9   UNITED STATES OF AMERICA,              )
                                            )                   NO. CR09-5466RJB
10                         Plaintiff,       )
                                            )
11         v.                               )                   ORDER TO CONTINUE
                                            )                   TRIAL DATE PURSUANT
12   MARK RANDALL,                          )                   TO 18 U.S.C. § 3161(H)(3)(A)
                                            )
13                          Defendant.      )
     _______________________________________)
14

15          Before the Court is a Motion to Continue the Trial Date pursuant to Title 18
16   United States Code § 3161(h)(3)(A);
17          The Court finds, after a consideration of all relevant information, records, and the
18   circumstances of this case, that the ends of justice would best be served by the granting of
19   this motion to continue the trial date for one week, and that the continuance of the trial for
20   one week in order to obtain the availability of an essential witness outweighs the best
21   interest of the public and the defendant in an earlier trial date.
22          The Court finds that an essential government witnesses, Travis Reeves, is
23   physically unavailable to testify during the week of March 22, 2010, after sustaining an
24   injury on March 21, 2010, which will require emergency surgery on March 22, 2010, and
25   recovery for several days thereafter. Travis Reeves’ whereabouts are known, but his
26   presence at trial on March 22, 2010, cannot be obtained by due diligence. The ends of
27   justice served by continuing the trial date one week outweigh the best interests of the
28   public and the Defendant in having the matter brought to trial sooner.

     ORDER REGARDING CONTINUANCE OF TRIAL DATE                                  UNITED STATES ATTORNEY
      /RANDALL - 1                                                             700 STEWART STREET, SUITE 52200
                                                                                 SEATTLE, WASHINGTON 98101
     (CR09-5466RJB)                                                                    (206) 553-7970
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 1          The Court finds that the governments motion to continue the trial date should be
 2   GRANTED. The order setting the trial date for March 22, 2010, is VACATED. Trial
 3   shall be rescheduled to April 12, 2010.
 4          Any and all periods of delay resulting from the granting of this motion to continue,
 5   from the date of the filing of the government’s motion on March 21, 2010, until the date
 6   of the rescheduled trial on April 12, 2010, shall be excludable time pursuant to Title 18,
 7   United States Code, Sections 3161(h)(3)(A), and the Court makes the following findings:
 8          a.     That the failure to grant such a continuance in this case would be likely to
 9   result in a miscarriage of justice and the ends of justice are best served by continuing the
10   trial one week, and the ends of justice served by taking this action outweigh the best
11   interest of the public and defendant in an earlier trial date, pursuant to Title 18 United
12   States Code §§ 3161(h)(3) and (7)(A) and (B);
13          b.     That the failure to grant such a continuance would deny counsel for the
14   government the ability to present the testimony of an essential witness, Travis Reeves,
15   because he is unavailable pursuant to 18 United States Code §§ 3161(h)(3)(A) and his
16   presence in court cannot be obtained by due diligence because the essential witness will
17   undergo emergency surgery on the current trial date, March 22, 2010;
18          IT IS SO ORDERED.
19                                              DATED this 22nd day of March, 2010.
20

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22
                                                A
                                                Robert J Bryan
23                                              United States District Judge

24    s/ Johanna Vanderlee
25
     JOHANNA VANDERLEE
     Special Assistant United States Attorney
26

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     ORDER REGARDING CONTINUANCE OF TRIAL DATE                                  UNITED STATES ATTORNEY
      /RANDALL - 2                                                             700 STEWART STREET, SUITE 52200
                                                                                 SEATTLE, WASHINGTON 98101
     (CR09-5466RJB)                                                                    (206) 553-7970
